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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )          (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH,               )
JARRELL W. WALKER, JR.,            )
and JOSEPH R. CROSBY               )

                           AMENDED ORDER

    Pursuant      to     the     court’s      order      of     partial

sequestration of the jury, it is ORDERED that the clerk

of the court shall, pursuant to the provisions of 28

U.S.C. § 1871, expend sums to pay for meals for all

jurors beginning with jury selection on January 30, 2012,

and continuing until the conclusion of the trial.

    DONE, this the 5th day of January, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
